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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Southern Division)
Doretha STRIPLING,

      Plaintiff                                            Case No.

V.
                                                          Removed from the Circuit Court for
MEDSTAR GEORGETOWN MEDICAL                                Prince George's County
CENTER, INC.,                                             Case No. CAL 12-31352

      Defendant


                                      NOTICE OF REMOVAL

TO: United States District Court for the District of Maryland, Southern Division:

        Pursuant to 28 U.S.C. § 1441, Defendant MedStar-Georgetown Medical Center, Inc.

("Georgetown"), hereby removes this action, Stripling v Medstar-Georgetown Medical Center,

Inc., case number CAL12-31352, from the Circuit Court for Prince George's County, Maryland.

                           JURISDICTIONAL BASIS FOR REMOVAL

        1.        Plaintiffs filed a Complaint on or about October 4, 2012 ("Complaint") naming

Georgetown as the only Defendant. (See Ex. A, Complaint.)

        2.        Jurisdiction over this removed action exists pursuant to 28 U.S.C. § 1441, because

this action presents diversity of citizenship and therefore could have been filed in the United

States District Court pursuant to 28 U.S.C. § 1332(a). The United States District Court has

subject matter jurisdiction over this action, because the requisite diversity of citizenship between

Plaintiff and Georgetown exists and the amount in controversy exceeds $75,000, exclusive of

interest and costs.
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        3.        In determining whether diversity is satisfied, the citizenship of the named plaintiff

is determined at the time the complaint is filed and at the time of removal.             See generally

Freeeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991) (per curiam).

        4.        Plaintiff is, and at the time she filed the action was, a citizen of Maryland. (See

Ex. A at if 1.)

        5.        Georgetown is a District of Columbia corporation licensed to do business, and

with its principal place of business, in the District of Columbia.

        6.        Plaintiff's Complaint purports to assert a claim for damages of $750,000 plus

costs. (See Ex. A at p. 3.) Thus the amount in controversy, based on the face of Plaintiff's

Complaint, exceeds $75,000, exclusive of interest and costs, and satisfies the requisite

jurisdictional amount for federal diversity jurisdiction.

        7.        Plaintiff served Georgetown with the Complaint and summons on October 22,

2012. Thus, the 30-day deadline for removal set forth in 28 U.S.C. § 1441 has not yet expired.

        8.        There are no "process, pleadings and orders" in the state court record, other than

the Complaint. (See Ex. B, Docket Report from Prince George's County Circuit Court.)

        9.        The United States District Court for the District of Maryland, Southern Division,

embraces Prince George's County, Maryland. See 28 U.S.C. § 100(1). Thus, as required by 28

U.S.C. § 1441(a), this civil action is being removed "to the district court of the United States for

the district and division embracing the place where such action is pending."

        10.       Georgetown is filing written notice of this removal (see Ex. C (without exhibits))

with the Clerk of the Circuit Court for Prince George's County in compliance with 28 U.S.C. §

1446(d). A copy of Georgetown's Notice to the Circuit Court for Prince George's County,
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together with this Notice of Removal, is being served upon Plaintiff's counsel pursuant to 28

U.S.C. § 1446(d).

       WHEREFORE, Georgetown respectfully removes this action to the United States District

Court for the District of Maryland, Southern Division, pursuant to 28 U.S.C. § 1441.


November 20, 2012


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                                             Counsel for Defendant MedStar-Georgetown
                                             Medical Center Inc.
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 20 th day of November 2012, a copy of the foregoing

was mailed first class, postage prepaid to:

Michael S. Blumenthal, Esq.
8201 Corporate Dr., Ste. 1120
Landover, MD 20785
Attorney for Plaintiff


                                              Deborah C. Parraz


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